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                        IN THE UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF ARKANSAS
                                 WESTERN DIVISION

UNITED STATES OF AMERICA                                                                PLAINTIFF

v.                                  NO. 4:11CR00290-01 JLH

CLAUDIA SUAREZ                                                                        DEFENDANT

                                              ORDER

       Claudia Suarez has filed a motion for reconsideration of the sentencing order, asking the

Court to reduce her sentence by fourteen months to give her credit for time when she was under

pretrial supervision by the United States Probation Office. A court may not modify a term of

imprisonment once it has been imposed except in very limited circumstances, none of which is

present here. 18 U.S.C. § 3582(c). Furthermore, the district court does not have the authority to

award a defendant credit for time served; rather, that authority resides in the Bureau of Prisons.

United States v. Pardue, 363 F.3d 695, 699 (8th Cir. 2004). The Bureau of Prisons provides

administrative procedures for reviewing the issue of failure to credit time served. Id. After

administrative remedies are exhausted, a prisoner may seek judicial review of any credit

determination by filing a habeas petition under 28 U.S.C. § 2241 in the district in which the prisoner

is incarcerated. Id.

       The motion for reconsideration is DENIED. Document #593.

       IT IS SO ORDERED this 2nd day of October, 2015.


                                                      _________________________________
                                                      J. LEON HOLMES
                                                      UNITED STATES DISTRICT JUDGE
